          Case 1:03-cr-00569-JB         Document 175         Filed 02/17/04      Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                 Plaintiff,

vs.                                                                             No. 03-CR-00569 JB

MARVIN THOMAS and
GENE ALAN SUMMERS,

                 Defendants.

                              MEMORANDUM OPINION AND ORDER

          THIS MATTER comes before the Court on the United States’Motion in Limine to Exclude

Statement Made in Government’s Response, filed February 16, 2004 (Doc. 170). The issue is

whether the Court should prohibit the Defendant, Marvin Thomas, from introducing at trial a

statement made by the government in its response to Thomas’Brady request. Because the United

States can explain the context in which it made the statement, the Court will deny the motion.

                                        BACKGROUND

          The United States filed a Response to Thomas’Brady Request and Request for Hearing on

December 15, 2003 (Doc. 119). In that response, the United States explained how the grand jury

testimony of Adrienne McCastle, Thomas’ girlfriend, was not subject to Brady’s disclosure

requirements because McCastle’s grand jury testimony was not exculpatory. The United States

stated:

          Marvin Thomas is charged with conspiracy to commit bank robbery and aiding and
          abetting a bank robbery by letting the principal bank robbers use his apartment after
          the robbery and furnishing and driving the final escape vehicle. Because the escape
          phase is part of a bank robbery, Thomas is charged as both a principal and an aider
          and abettor.
        Case 1:03-cr-00569-JB           Document 175         Filed 02/17/04       Page 2 of 4




        However, in none of the pleadings in this case has the government ever contended
        that Thomas participated in the actual robbery of the Bank of America or was even
        near the bank when the robbery occurred. Thus, because Ms. McCastle’s grand jury
        testimony does not conflict in the slightest degree with the government’s theory as to
        Thomas’ role in the robbery, it was neither favorable to the defendant nor material
        and, therefore, need not be disclosed under Brady.

Doc. 119, ¶¶4-5, at 2.

        Thomas seeks to introduce at trial the following statement: “[I]n none of the pleadings in this

case has the government ever contended that Thomas participated in the actual robbery of the Bank

of America or was even near the bank when the robbery occurred.” The United States moves the

Court in limine for an order prohibiting Thomas from introducing at trial that statement. The United

States contends that Thomas will introduce the statement out-of-context in an attempt to mislead and

to confuse the jury.

                                             ANALYSIS

        It is true that this statement, by itself, ignores the government’s theory that Thomas is legally

responsible for the bank robbery as a conspirator and aider and abettor. On the other hand, the

statement is probative of what the United States thinks its case against Thomas is. While the United

States contends that Thomas is attempting to use this statement out-of-context to mislead and to

confuse the jury, the statement may actually be helpful to the jury in understanding precisely what the

United States is asserting against Thomas. The United States will have an opportunity to explain its

case to the jury and to put its statement in context. The Court will not exclude this statement, at this

time, under rule 403 of the Federal Rules of Evidence, which provides for the exclusion of evidence

whose “probative value is substantially outweighed by the danger of unfair prejudice, confusion of

the issues, or misleading the jury.”


                                                  -2-
        Case 1:03-cr-00569-JB          Document 175          Filed 02/17/04       Page 3 of 4




       The United States also contends that this statement does not qualify as an admission by a

party-opponent under rule 801(d)(2) and is thus inadmissible at trial. In Dartez v. Owens-Illinois,

Inc., 910 F.2d 1291 (5th Cir. 1990), the United States Court of Appeals for the Fifth Circuit noted:

       [S]tatements made in a document, even in a “pleading,” are not automatically properly
       regarded as admissions because the document was filed in a trial court. Procedural
       context may also prevent the use as admissions of statements made by a party in the
       trial court. For example, in a motion to transfer venue a defendant may make
       statements that are not concessions for all purposes, but merely operating assumptions
       which must be taken as true in order to resolve [the] collateral issue . . . . Such
       statements should not later be regarded as an admission by the party.

Id. at 1294 (internal quotation marks and citation omitted). In Dartez, the Fifth Circuit held that

post-trial briefs that the defendants filed in a different case were not admissible as admissions of a

party opponent. See id.

       In Dartez, the Fifth Circuit noted that “[t]rial court pleadings, at least to the extent that they

are not hypothetical or in the alternative, generally constitute a statement by the pleader as to the

occurrence of certain historical facts in the real world.” Id. at 1293. Post-trial briefs, however, are

different. The Fifth Circuit analogized post-trial briefs to appellate briefs in that both “must confine

themselves to making statements not about the facts as they unfolded in the real world, but about

what the trial record shows.” Id. at 1293 (citation omitted)(emphasis in original). Because a party

is “not free to give his own version of the ‘real world’ facts,” post-trial briefs cannot fairly be

characterized as an admission. Id.

       In this case, established facts of record did not constrain or restrict the United States’

response. The United States was free to give its own version of the facts. Indeed, the United States

used its response to Thomas’ Brady request as a way to describe how it believes Thomas was

involved in this crime. The procedural context in this case would suggest the government’s statement


                                                  -3-
        Case 1:03-cr-00569-JB         Document 175        Filed 02/17/04      Page 4 of 4




is an admission. It meets the definition of rule 801(d)(2). The Court will not exclude the statement

at this stage of the case.

        IT IS ORDERED that the United States’motion for an order in limine prohibiting Defendant

Marvin Thomas, through his counsel, from introducing at trial the statement that the United States

made in its Response to Defendant’s Brady Request and Request for Hearing is denied.


                                              __________________________________________
                                              UNITED STATES DISTRICT JUDGE


Counsel:

David C. Iglesias
  United States Attorney
  for the District of New Mexico
Presiliano Torrez
Amy Sirignano
  Assistant United States Attorneys
Albuquerque, New Mexico

        Attorneys for the United States


Robert Gorence
Albuquerque, New Mexico

        Attorney for Defendant Marvin Thomas


Dennis W. Montoya
Rio Rancho, New Mexico

        Attorney for Defendant Gene Alan Summers




                                                -4-
